                                                                                                                                                                                       __ ~

           Case 2:17-cv-04443-DSF-PLA Document 21 Filed 12/27/17 Page 1 of 1 Page ID #:588
  U.S. Department of Justice                                                                        PROCESS RECEIPT AND RETURN L~~ ~~~~
  United States Marshals-Service
                                                                                                    See "Instructions for Service ofProcess by U.S. Marshal"~~~

   PLAINTIFF                                                                                                                              COURT CASE NUMBER
   UNITED STATES OF AMERICA                                                          _                                                     V 17-4443 DSF(PLAx)
   DEFENDANT                                                                                                                              TYPE OF PROCESS
  ONE PAINTING ENTITLED "NATURE MORTE AU CRANE DE TAUREAU" ETC..ETComplaint/Warrant
                          NAME OF INDNIDUAL,COMPANY,CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

       SERVE                                                                                                                                                            _~           ~
             AT`          ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)                                                                              ~?           C%~
                                                                                                                                                                        ~~a
                                                                                                                                                                                 ^:1
                                                                                                                                                                          ;.,, :. ~
                                                                                                                                                                        _~:
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW
                                                                                                                                     Number of process to be
                                                                                                                                     served with this Roan 285

                   AUSA CHRISTEN A. SPROULE                                              ~
                                                                                                                                     Number of parties to be
                   U. S. COURTHOUSE                                                                                                  served in this case
                   312 N. SPRING STREET, 14TH FLOG
                   LOS ANGELES,CA 90012
                                                                                                            20~~
                                                                                                                                    ~ Check for service                   }
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                                                                                                                                    ~ on U.S.A.
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                                                                                   Bi

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WI                                                     6TI°~'N~G`S            ICE(Include Business ¢ndAlterre¢teAddresses.
       All Telephone Numbers, and Estimated Times Availablefor Service):
Fold                                                                                                                                                                                       Fold

       CATS: 17-FBI-004057; 17-FBI-004058; 17-FBI-004059
       PLEASE SEIZE: On painting entittled "Nature Morte au Crane de Taureau" by Pablo Picasso; One collage enttitled "Redman
       One" by Jean-Michel Basquiat; and One photograph entitled "Boy with the Toy Hand Grenade" by Diane Arub.


   Signature of Attorney other Origin for requesting service on behalf of:                                                   TELEPHONE NUMBER                     DATE
                                                                                                    L~ PLAINTIFF
         ~\J~
            '~yl~— ~ ~                                                                              ~ DEF~rrDArrT            (213)894-4439                        6/20/17
       SPACE BELOW FOIY USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
 I acla~owledge receipt far the total           Total Process      District of        District to      Signature of Autho ~ d USMS Deputy or Clerk                            Date
 number of process indicated.                                      Origin             Serve
 (Sign onlyfor USM 285 rfmore
 than one USM285 is submitted)                         ~           No. ~ ~            No.~                                                                                ~ ~~~ ~~~

   I hereby certify and return that I ~ have personally served ,~ have legal evidence of se✓vice,~ have executed as shown in "Remarks",the process described
   on the individual ,company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

          I hereby certify and rehun that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served(fnot shown above)                                                                                   ~ A person of suitable age and discretion
                                                                                                                                             then residing in defendant's usual place
                                                                                                                                             of abode
   Address (complete only different than shown above)                                                                                       Date                 Time
                                                                                                                                                                                         am
                                                                                                                                                                                       fpm
                                                                                                                                            1Z ~         1~     ll- ~
                                                                                                                                            Signature of    ars}~or Deputy ,--


   Service Fee            Total Mileage Charges Forwarding Fee                   Total Chazges         Advance Deposits             Amount owed to U . MarshalM or
                          including endeavors)                                                                                      (Amount of Refun *)
  $65.00                                                                          $65.00                                              $65.00
                                                                                                                                                                                              X
  ~1~1A~s:
       SEIZE~17—FBI-004059 AS CV17-4443 ON DEC 7, 2017.
       SEIZE►~17—FBI-004057 AND 17 —FBI-004058 AS CV17-4443 ON DEC 8, 2017.

  ~~i~ L CLERK OF THE COURT                                                                                                                               PRIOR EDITIONS MAY BE USED
       2. USMS RECORD
       3. NOTICE OF SERVICE
       4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,                                                                                                  Form USM-285
          if any amount is owed. Please remit promptly payable to U.S. Mazshal.                                                                                                  Rev. 12/15/80
       5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                                            Automated O1/00
